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                               UNITED STATES DISTRICT COURT
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                                       DISTRICT OF NEVADA
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 7   BLANCA MIRANDA CRUZ,
                                                           Case No.: 2:20-cv-01509-GMN-NJK
 8          Plaintiff(s),
                                                                           Order
 9   v.
                                                                      [Docket No. 22]
10   ISDEL SURI RUIZ, et al.,
11          Defendant(s).
12         Due to conflicting duties of the Court, the hearing on the motion to withdraw as Plaintiff’s
13 counsel is hereby CONTINUED to 10:00 a.m. on January 29, 2021. Plaintiff herself must
14 participate in the hearing. Counsel and Plaintiff shall appear telephonically by calling the Court
15 conference line at 877-402-9757 at least five minutes prior to the hearing. The conference code is
16 6791056. In order to ensure a clear recording of the hearing, the call must be made using a land
17 line phone. Cell phone calls, as well as the use of a speaker phone, are prohibited.
18         Additionally, Plaintiff’s counsel must serve notice on Plaintiff of this order, and must file
19 a proof of service by January 15, 2021.
20         IT IS SO ORDERED.
21         Dated: January 12, 2021
22                                                               ______________________________
                                                                 Nancy J. Koppe
23                                                               United States Magistrate Judge
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